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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  DISPLAY TECHNOLOGIES LLC,                            Civil Action No. 17-cv-1426-RGA

                                                       PATENT CASE
                           Plaintiff,
  v.                                                   JURY TRIAL DEMANDED
  GIBSON INNOVATIONS USA,
  INC.,

                           Defendant.



       GIBSON INNOVATIONS USA, INC.’S REPLY BRIEF IN SUPPORT OF ITS
             MOTION TO DISMISS DISPLAY TECHNOLOGIES, LLC’S
                      FIRST AMENDED COMPLAINT

          Defendant Gibson Innovations USA, Inc. (“Innovations”) hereby files its Reply

  Brief in Support of Its Motion to Dismiss Display Technologies, LLC’s (“Display”) First

  Amended Complaint [D.I. 12], respectfully showing the Court as follows:

          In Display’s Response to Innovations’ Motion to Dismiss, Display requests the Court

  extend the deadline for it to “respond to the present motion until the motion for leave is

  resolved,” citing its Motion for Leave to File a Second Amended Complaint that Display

  filed concurrently with its Response Brief.     [D.I. 18, 1.]   Innovations will respond to

  Display’s Motion for Leave to File a Second Amended Complaint at the appropriate time; its

  response will be that the proposed second amended complaint would be futile for the same

  reason the First Amended Complaint should be dismissed, i.e., the asserted claims are invalid

  under 35 U.S.C. § 101.

          As to Display’s request in its Response Brief that the Court extend the deadline to

  respond to Innovations’ Motion to Dismiss, Display’s request to move the Court should have
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  been brought by separate motion rather than in its Response Brief to Innovations’ Motion to

  Dismiss. See Abbott Labs. v. Lupin Ltd., No. CIV.A. 09-152-LPS, 2011 WL 1897322, at *6 (D.

  Del. May 19, 2011) (“The Court will deny Abbott's request. The proper way for Abbott to

  have made this request would have been in a separate motion.”) (citing D. Del. LR 7.1.2.

  (“Unless otherwise ordered, all requests for relief shall be presented to the Court by

  Motion.”)

          Therefore, this Court should deny the request and rule on Innovations’ Motion to

  Dismiss. See Abbott Labs. v. Lupin Ltd., 2011 WL 1897322 at *6 (“The Court should not have

  to go hunting for hidden motions that are embedded in parties' briefs on other motions.”);

  see also Biovail Labs. Int'l SRL v. Cary Pharm. Inc., No. CIV.09-605-JJF-LPS, 2010 WL 2132021,

  at *3 (D. Del. May 26, 2010) (denying request to strike declaration brought up in the “last

  portion of” the answering brief.)

          Accordingly, this Court should grant Innovations’ Motion to Dismiss the First

  Amended Complaint with Prejudice because the asserted claims of U.S. Patent No. 9, 300,

  723 are invalid under 35 U.S.C. § 101.



  Dated: March 28, 2018

  OF COUNSEL:

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